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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
Case Number: 19-62504-CIV-MARTINEZ-SNOW

CRAIG CUNNINGHAM,
Plaintiff,

VS.

CONSOLIDATED WORLD TRAVEL, INC.,
d/b/a HOLIDAY CRUISE LINE, et al.,
Defendants.
/

 

ORDER OF DISMISSAL WITH PREJUDICE

THIS MATTER is before the Court upon the Plaintiff's Notice of Voluntary Dismissal of

Action with Prejudice as to Defendant Consolidated World Travel, Inc., d/b/a Holiday Cruise Line

Only, [ECF No. 9]. It is hereby:

ADJUDGED that this action is DISMISSED with prejudice as to Defendant

Consolidated World Travel, Inc. The parties shall bear their own attorneys’ fees and costs.

DONE AND ORDERED in Chambers at Miami, Florida, this gy day of January, 2020.

 

O., (MA

 

JOSE

ARTINEZ

UNITED STATES ws tRICT JUDGE

Copies provided to:
Magistrate Judge Snow
AJ Counsel of Record
